






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00372-CV






North Texas Operating Company, Inc. and Cecil Earl Mallow, Appellants



v.



State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT


NO. 97-09161, HONORABLE MARGARET COOPER, JUDGE PRESIDING 






	On January 23, 2002, appellants filed an unopposed motion to dismiss this cause. 
Appellant Cecil Mallow has died, and his estate has paid the judgment rendered by the trial court and
received a release of judgment.  Appellant North Texas Operating Company, Inc. has informed this
Court that it no longer intends to pursue this appeal.  Appellee does not oppose the motion. 
Accordingly, we will grant appellants' motion; the appeal is dismissed with prejudice.



					__________________________________________

					Jan P. Patterson, Justice

Before Justices Kidd, Patterson, and Puryear

Dismissed on Appellants' Motion

Filed:   February 22, 2002

Do Not Publish


